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 1
                                                                     The Honorable James L. Robart
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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE

10     Grace Galloway, Andy Lesko, and Brenda            Case No. 2:16-cv-01941-JLR
       Shoss, individually and on behalf of all
11     others similarly situated,                        STIPULATED MOTION AND ORDER
                                                         TO STRIKE AND RESET DEADLINES
12                                         Plaintiffs,
                                                         NOTE ON MOTION CALENDAR:
13
                 v.                                      October 8, 2020
14
       VALVE CORPORATION, a Washington
15     corporation,

16                                        Defendant.
17

18                                   I.       RELIEF REQUESTED

19          Plaintiffs and Defendant Valve Corporation respectfully request that this Court strike the

20 current deadlines in the Initial Scheduling Order (Dkt. #57) and reset them for particular dates

21 after the Court rules on Valve’s pending motion to dismiss (Dkt. #59), which is noted for

22 October 23, 2020.

23                                  II.      STIPULATED MOTION

24          The Court entered an Initial Scheduling Order on September 22, 2020, setting deadlines

25 for the parties’ Rule 26(f) conference (October 6, 2020), initial disclosures (October 20, 2020),

26 and submission of the Combined Joint Status Report and Discovery Plan (October 27, 2020).

       STIPULATED MOTION TO STRIKE AND RESET                                        FOX ROTHSCHILD LLP
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 1 (Dkt. #57.) On October 1, 2020, Valve filed a Motion to Dismiss Plaintiffs’ First Amended

 2 Complaint, which seeks dismissal of all claims with prejudice. (Dkt. #59.) Valve’s motion is

 3 noted for consideration on October 23, 2020.

 4          Under Federal Rule of Civil Procedure 16(b)(4), the Court may modify case deadlines on

 5 a showing of good cause. Here, the parties agree that good cause exists to strike the current

 6 deadlines in the Initial Scheduling Order and reset them for particular dates after the Court rules

 7 on Valve’s pending motion to dismiss. The outcome of Valve’s pending motion will effect

 8 whether and how this case proceeds. It is more efficient and practical for the parties to conduct
 9 the Rule 26(f) conference, exchange initial disclosures, and prepare and file the Combined Joint

10 Status Report and Discovery Plan after the Court rules on Valve’s pending second motion to

11 dismiss. No prejudice to the parties will result from striking and re-setting these deadlines. The

12 parties’ request is not made for the purpose of improper delay or to burden the Court.

13                                        III.    CONCLUSION
14
            The parties respectfully request that the Court strike the current deadlines in the Initial
15
     Scheduling Order and reset them for particular dates after the Court rules on Valve’s pending
16
     motion to dismiss.
17
            DATED this 8th day of October, 2020.
18
       STRITMATTER KESSLER KOEHLER                       FOX ROTHSCHILD LLP
19     MOORE

20     By    s/ Ray W. Kahler                     .      By s/ Laura P. Hansen
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 1                                               ORDER

 2          Based on the foregoing stipulation of the parties, IT IS HEREBY ORDERED that all of

 3 the deadlines in the Initial Scheduling Order (Dkt. #57) are stricken. The Court will reset the

 4 deadlines for the parties’ Rule 26(f) conference, initial disclosures, and submission of the

 5 Combined Joint Status Report and Discovery Plan to particular dates that will be determined

 6 after the Court rules on Defendant Valve Corporation’s pending motion to dismiss (Dkt. #59).

 7          IT IS SO ORDERED.

 8          DATED this 16th day of October, 2020.

 9

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12
                                                         A
                                                         The Honorable James L. Robart
13                                                       United States District Court Judge

14 Presented by:

15 FOX ROTHSCHILD LLP

16
   By s/ Laura P. Hansen
17 Gavin W. Skok, WSBA #29766
   Laura P. Hansen, WSBA #48669
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   Attorneys for Defendant Valve Corporation
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20 STRITMATTER KESSLER KOEHLER MOORE

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